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                                  [J-20-2022]
                   IN THE SUPREME COURT OF PENNSYLVANIA
                               MIDDLE DISTRICT


CAROL ANN CARTER, MONICA                                    : No. 7 MM 2022
PARRILLA, REBECCA POYOUROW,                                 :
WILLIAM TUNG, ROSEANNE MILAZZO,                             : ARGUED: February 18, 2022
BURT SIEGEL, SUSAN CASSANELLI, LEE                          :
CASSANELLI, LYNN WACHMAN,                                   :
MICHAEL GUTTMAN, MAYA FONKEU,                               :
BRADY HILL, MARY ELLEN BALCHUNIS,                           :
TOM DEWALL, STEPHANIE MCNULTY                               :
AND JANET TEMIN,                                            :
                                                            :
                           Petitioners                      :
                                                            :
                                                            :




                                                               M
                  v.                                        :




                                                             O
                                                            C
                                                            :



                                                          T.
                                                        KE
                                                            :
LEIGH M. CHAPMAN, IN HER OFFICIAL                      C    :
                                                     O
                                                   YD

CAPACITY AS THE ACTING SECRETARY :
                                                 AC



OF THE COMMONWEALTH OF                                      :
                                                R
                                              C




PENNSYLVANIA; JESSICA MATHIS, IN                            :
                                              O
                                          EM




HER OFFICIAL CAPACITY AS DIRECTOR :
                                          D




FOR THE PENNSYLVANIA BUREAU OF                              :
                                       M
                                      O




ELECTION SERVICES AND NOTARIES,                             :
                                   FR




                                                            :
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                               VE




                           Respondents                      :
                              IE




                                                            :
                            R
                          ET




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                         R




PHILIP T. GRESSMAN; RON Y. DONAGI;                          :
KRISTOPHER R. TAPP; PAMELA GORKIN; :
DAVID P. MARSH; JAMES L.                                    :
ROSENBERGER; AMY MYERS; EUGENE                              :
BOMAN; GARY GORDON; LIZ MCMAHON; :
TIMOTHY G. FEEMAN; AND GARTH                                :
ISAAK,                                                      :
                                                            :
                           Petitioners                      :
                                                            :
                                                            :
                  v.                                        :
                                                            :
                                                            :
LEIGH M. CHAPMAN, IN HER OFFICIAL                           :
CAPACITY AS THE ACTING SECRETARY :
OF THE COMMONWEALTH OF                                      :
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    PENNSYLVANIA; JESSICA MATHIS, IN               :
    HER OFFICIAL CAPACITY AS DIRECTOR              :
    FOR THE PENNSYLVANIA BUREAU OF                 :
    ELECTION SERVICES AND NOTARIES,                :
                                                   :
                       Respondents                 :

                                          ORDER

PER CURIAM
        AND NOW, this 23rd day of February, 2022, this Court, following full deliberation

and consideration, hereby orders as follows:

        First, the Pennsylvania primary and general elections for seats in the United States

House of Representatives commencing in the year 2022 shall be conducted in

accordance with the “Carter Plan” submitted in the record before the Special Master and




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as described by 2020 Census block equivalency (denominated the “Carter Plan – Block

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Assignments”) and ESRI shape files (denominated “Carter Plan – Shape Files”) uploaded
                                                   YD
                                                   AC



to this Court’s website at https://www.pacourts.us/2022-redistricting-opinions.1
                                                  R




                                                                                         The
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Carter Plan, in its constituent parts, is hereby made part of this Order, and is hereby
                                          D
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                                      O




ADOPTED as the division of this Commonwealth into seventeen congressional districts,
                                    FR
                                  D
                                VE




unless and until the same shall be lawfully changed. For reference, images of the Carter
                              IE
                             R
                           ET




Plan, submitted to the Court, are attached at Appendix A, and are available at the above
                          R




website.

        Second, Executive Respondents together with the General Assembly’s Legislative

Data Processing Center (LDPC),2 shall prepare textual language that describes the

Carter Plan and submit the same to the Secretary of the Commonwealth without delay.

The Secretary of the Commonwealth shall thereafter file with this Court’s Prothonotary a

1       As noted, we adopt the “Carter Plan” submitted in the record before the Special
Master as opposed to the additional plan submitted by Petitioner Carter in Exhibit A to the
brief in support of exceptions to the Special Master’s Report.
2      The LDPC was established by the Act of Dec. 10, 1968, P.L. 1158, No. 365, and
routinely provides technical services relating to congressional and legislative redistricting.


                                              2
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certification of compliance of the preparation of the textual description of the Carter Plan,

along with a copy of the textual description.

       Third, Respondent Secretary of the Commonwealth shall, without delay, following

the preparation of the textual description of the Carter Plan, publish notice of the

Congressional Districts in the Pennsylvania Bulletin.

       Fourth, this Court’s February 9, 2022 order, that temporarily suspended the

General Primary Election calendar, is VACATED. To provide for an orderly election

process, the schedule for the primary election to be held May 17, 2022, for the election

of Representatives to the United States Congress and statewide elections is MODIFIED

only in the following respects:




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                                                             T.
                                                           KE
 First day to circulate and file nomination petitions      February 25, 2022
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                                                       O
                                                     YD

 Last day to circulate and file nomination petitions       March 15, 2022
                                                     AC
                                                    R
                                                C




 First day to circulate and file nomination papers         March 16, 2022
                                                O
                                            EM
                                            D




 Deadline to file objections to nomination petitions       March 22, 2022
                                        M
                                        O




 Last day that may be fixed by the Commonwealth
                                    FR




                                                           March 25, 2022
                                    D




 Court for hearing on objections that have been filed
                                  VE




 to nomination petitions
                              IE
                             R




 Last day for the Commonwealth Court to render
                           ET




                                                           March 29, 2022
                         R




 decisions in cases involving objections to
 nomination petitions
 Last day for the County Boards of Elections to send
                                                           April 2, 2022
 remote military-overseas absentee ballots. See 25
 Pa.C.S. §3508; 52 U.S.C. §20302(a)(8)(A)
In all other respects, the dates under the 2022 General Election Primary calendar for

Congressional and statewide offices are not modified by this Order. Along these lines, it

is NOTED that, with respect to Congressional and statewide offices, the appeal period

set forth in Rule of Appellate Procedure 903(c)(1)(ii) (relating to appeals arising under the

Election Code) remains in effect. This schedule shall be implemented by the Secretary

of the Commonwealth and all election officers within the Commonwealth in accordance


                                                3
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with this Court’s Order. By separate Order, this Court has temporarily suspended the

General Primary Election calendar relative to seats in the Pennsylvania General

Assembly.      See In re Petitions for Review Challenging the Final 2021 Legislative

Reapportionment Plan, 569 Judicial Administration docket (order dated February 23,

2022).

         Fifth, should there be any congressional vacancies existing now or occurring after

the entry of this Order, but prior to the commencement of the terms of the members to be

elected in the General Election of 2022, the districts prescribed in the Remedial Plan

adopted by this Court by Order dated February 19, 2018, shall control.

         Sixth, the Secretary of the Commonwealth is directed to notify this Court by 4:00




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p.m. on February 25, 2022, should it foresee any technical issues concerning the




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implementation of the Carter Plan.
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         So Ordered.
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                                                C




         Jurisdiction retained.
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                                            EM
                                            D




         Opinions to follow.
                                        M
                                        O
                                       FR
                                    D
                                  VE




         Justices Todd, Mundy, and Brobson dissent as to the selection of the Carter Plan
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                                 R
                               ET




as the congressional redistricting plan.
                           R




                                                4
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                                                                                                                                              Susquehanna
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                                                                                                                        Bradford

                                                                                               Tioga
                                                                                                                                             Wyoming Lackawanna
    Erie
                                              McKean
                                                                        Potter                                                                                                8       Pike

                         Warren                                                                                            Sullivan



                                                             Cameron
                                                                                                          Lycoming                  9            Luzerne                     Monroe
Crawford
                             Forest               Elk
                                                            15                                                                     Columbia




                                                                                                                 M
                                                                                     Clinton




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    16
                                                                                                                                                              Carbon          Northampton




                                                                                                              C
             Venango                                                                                                      Montour




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                                                                                                              Union




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Mercer                   Clarion                                                                                        Northumberland                                   Lehigh




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                                      Jefferson                                                                                               Schuylkill
                                                        Clearfield                 Centre




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Lawrence                                                                                    Mifflin Juniata




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             Butler                                                                                                                                                               Montgomery
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    17
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            Allegheny                                                                                                                                                              Delaware

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                    12    Westmoreland
                                                                                                                 Adams
                                                                                                                                     York

                                                                                               Franklin
                                                                Bedford
     Washington                                                                   Fulton
                                   14        Somerset                                                                              Proposed Plan                     14
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                           Fayette                                                                                                 Districts:                        16                        7
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           Greene                                                                                                                       10                           2                         9
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                                                                                                                                        12                                                     County boundaries
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